                                                        IT IS ORDERED
                                                        Date Entered on Docket: July 12, 2019




                                                        ________________________________
                                                        The Honorable Robert H Jacobvitz
                                                        United States Bankruptcy Judge

______________________________________________________________________
                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW MEXICO

  In re:
  GREGORY BLEA and
  ISABEL BLEA,
         Debtor(s)                                                      No. 19-10520-t7

                 ORDER AUTHORIZING EMPLOYMENT OF REALTOR

         THIS MATTER has come before the Court on Trustee’s Application to Employ

  Realtor filed June 10, 2019, (“the Application”). The Court FINDS: (a) notice of the

  Application, with a 21-day opportunity to object, was given pursuant to Bankruptcy Rule

  2002(a)(2) to all parties in interest on the official mailing matrix maintained by the Clerk

  of the Court in this bankruptcy case on June 11, 2019, with a deadline to file a response to

  the Application on July 5, 2019; (b) the notice of the Application was sufficient in form

  and content and was appropriate in the particular circumstances; (c) no objection were

  filed, timely or otherwise; (d) the employment of Amy Ackroyd of TAL Realty as set out

  in this Order is appropriate.

         IT IS THEREFORE ORDERED:



   Case 19-10520-j7     Doc 27    Filed 07/12/19    Entered 07/12/19 14:06:48 Page 1 of 2
       1.     That the Trustee’s Application to Employ Realtor, be, and the same hereby

is approved and the employment of Amy Ackroyd of TAL Realty is hereby authorized.

       2.     The combined compensation of realtor and of BK Global, trustee’s short sale

consultant, is fixed at the rate of six percent (6.00%) of the sales price plus applicable gross

receipts tax plus expenses upon closing of sale of the subject property.

                                ###END OF ORDER###


/s/ submitted electronically
Philip J. Montoya
Counsel for Trustee
1122 Central Avenue, SW, Suite 3
Albuquerque, NM 87102
Tel: (505) 244-1152
pmontoya@swcp.com




 Case 19-10520-j7      Doc 27     Filed 07/12/19    Entered 07/12/19 14:06:48 Page 2 of 2
